           Case 2:20-cv-01369-RAJ-BAT Document 19 Filed 04/29/21 Page 1 of 13




     Sean M. Phelan, WSBA #27866                                The Honorable Brian A Tsuchida
 1
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 4
 5   Attorney for Plaintiff-Intervenors
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 7
 8
 9
10                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WASHINGTON
11                                    AT SEATTLE
12       EQUAL EMPLOYMENT
         OPPORTUNITY COMMISSION,                     CASE NO 2:20-cv-01369-RAJ-BAT
13
14                      Plaintiff,                   PLAINTIFF-INTERVENORS’
                and,                                 MOTION FOR JOINDER BY
15                                                   COURT ORDER TO JOIN JAFFER
         MARIA CRUZ CONTRERAS and                    HOSPITALITY GROUP AS PARTY
16
         SOFIA VERA RODRIGUEZ,
17                                                   NOTE ON MOTION CALENDAR:
                        Plaintiff-Intervenors,       May 14, 2021
18
19              vs.

20       GIPHX10, LLC d/b/a "HAWTHORN
         SUITES BY WYNDHAM,"
21
22                      Defendant.

23                                        I.     INTRODUCTION

24          Plaintiff-Intervenors Maria Cruz Contreras and Sofia Vera Rodriguez respectfully move
25
     this Court to join Jaffer Hospitality Group as a party under Fed. R. Civ. P 19 and 20. Jaffer
26
     Hospitality Group is a private company headquartered in Edmonton, Canada, that operates
27
28
                                                                          FRANK FREED
     MOTION FOR JOINDER BY COURT ORDER                                 SUBIT & THOMAS LLP
     TO JOIN JAFFER HOSPITALITY GROUP                            Suite 1200 Hoge Building, 705 Second Avenue
     AS PARTY - 1                                                       Seattle, Washington 98104-1798
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     Defendant’s hotel, GIPHX10, dba as Hawthorn Suites by Wyndham (hereinafter “Hawthorn
 1
 2   Suites”), located in Kent, Washington. At the time of the injuries described in Plaintiff’s

 3   Complaint and Plaintiff-Intervenors’ Complaint in Intervention, Jaffer Hospitality Group was
 4
     Plaintiff-Intervenors’ “employer” within the meaning of the term under federal and state law.
 5
     Consequently, Jaffer Hospitality Group, along with Hawthorn Suites, is liable for Plaintiff-
 6
 7   Intervenors’ injuries under state and federal employment discrimination law, and is therefore, “a

 8   necessary party.” In the alternative, Plaintiff-Intervenors submit that Jaffer Hospitality Group
 9   should be permissively joined as a defendant in this action.
10
                       II.    FACTUAL AND PROCEDURAL HISTORY
11
            Plaintiff-Intervenors Maria Cruz Contreras and Sofia Vera Rodriguez were both
12
13   employed as housekeepers at the Hawthorne Suites by Wyndham hotel in Kent, Washington.

14   Dkt. 14 ¶¶ 5.1-.2. Their paychecks were issued by Hawthorne Suites. During their employment,
15   both Plaintiff-Intervenors were sexually harassed by a manager who also worked at the hotel. Id.
16
     ¶ 5.3. Ms. Rodriguez feared for her safety after being physically groped and propositioned and
17
     was constructively discharged after working at the hotel for a brief period of a few months. Id.
18
19   ¶ 5.4. Ms. Contreras reported the harassment to the General Manager of the hotel. Id. ¶ 5.5. The

20   General Manager took her complaint and conducted a cursory investigation which ended when
21
     the alleged harasser denied Ms. Contreras’ claims. Id. ¶ 5.6.
22
            In December 2018, Ms. Contreras and Ms. Rodriguez filed discrimination charges with
23
24   the Equal Employment Opportunity Commission (“EEOC”) alleging they were sexually harassed

25   at Hawthorn Suites. Declaration of Sean M. Phelan (“Phelan Decl.”), Ex. A at GIPH 000119-
26   122. Ms. Contreras also alleged that she suffered retaliation. Id. at GIPH 000119-20. After an
27
     investigation, the EEOC issued reasonable cause determinations and invited Hawthorn Suites to
28
                                                                              FRANK FREED
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     engage in conciliation. Id. at GIPH 000119-21. After attempts at conciliation between the parties
 1
 2   failed, the EEOC filed the initial complaint with this Court on September 17, 2020 against

 3   Defendant Hawthorn Suites, alleging unlawful employment practices in violation of § 703(a) of
 4
     Title VII, 42 U.S.C. § 2000e. Dkt. 1.
 5
            By and through their counsel, Sean M. Phelan, Ms. Contreras and Ms. Rodriguez moved
 6
 7   this Court for leave to intervene and to file their Complaint in Intervention. Dkt. 12. This Court

 8   granted the motion. Dkt. 13. Plaintiff-Intervenors then filed a Complaint in Intervention, adding
 9   state law claims for discrimination under the Washington Law Against Discrimination (WLAD),
10
     RCW 46.90, which arise out of the same facts as the Federal claims and over which this Court
11
     now exercises supplemental jurisdiction. Dkt. 13-14.
12
13                              III.    STATEMENT OF THE ISSUES

14      1. Whether the Court should join Jaffer Hospitality Group as a necessary party pursuant to
15          Fed. R. Civ. P. 19(a)(1).
16
        2. Whether, in the alternative, the Court should join Jaffer Hospitality Group as a
17
            permissive party pursuant to Fed. R. Civ. P. 20(a)(2).
18
19                                IV.     EVIDENCE RELIED UPON

20          This motion is based on the Declaration of Sean M. Phelan in Support of Motion for
21
     Joinder (with exhibits) and the record before this Court.
22
                                          V.      ARGUMENT
23
24          Plaintiff-Intervenors respectfully move the Court to join Jaffer Hospitality Group

25   (“Jaffer”) as a necessary party, or in the alternative, as a permissive party, because Jaffer
26   employed Plaintiff-Intervenors, their harasser, and the General Manager who retaliated against
27
     Ms. Contreras after she reported the discriminatory conduct that she endured.
28
                                                                              FRANK FREED
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     A.     Jaffer Hospitality Group is a Necessary Party because it was Plaintiff-Intervenors’
 1
            employer under federal and state law.
 2
             Plaintiff-Intervenors respectfully move the Court to join Jaffer as a necessary party
 3
     pursuant to Fed. R. Civ. P. 19(a)(1), which provides in relevant part: “A person who is subject to
 4
 5   service of process and whose joinder will not deprive the court of subject matter jurisdiction must

 6   be joined as a party if: in that person’s absence, the court cannot accord complete relief among
 7
     existing parties.” Fed. R. Civ. P. 19(a)(1). In applying Rule 19(a), the court must first determine
 8
     whether the party is “necessary,” and second, whether joining the party is feasible. Wilbur v.
 9
     Locke, 423 F.3d 1101, 1111-12 (9th Cir. 2005), abrogated on other grounds, Levin v. Commerce
10
11   Energy, Inc., 560 U.S. 413 (2010). As described in the Rule, a party is necessary if “complete

12   relief” cannot be accorded in the party’s absence. Fed. R. Civ. P. 19(a)(1)(A). Complete relief
13
     in this context is concerned with “consummate rather than partial or hollow relief as to those
14
     already parties, and with precluding multiple lawsuits on the same cause of action.” Alto v. Black,
15
16   738 F.3d 1111, 1126 (9th Cir. 2013). A party is therefore necessary if its absence “would

17   preclude the district court from fashioning meaningful relief as between the parties.” Disabled
18   Rights Action Committee v. Las Vegas Events, Inc., 375 F.3d 861, 879 (9th Cir. 2004). Joinder
19
     is feasible if joining the party would not deprive the district court of subject matter jurisdiction.
20
     See Yniques v. Cabral, 985 F.32d 1031, 1034 (9th Cir. 1993).
21
22           Here, Jaffer is a necessary party because Jaffer employed Plaintiff-Intervenors as their

23   indirect employer. This Court cannot fashion complete relief with respect to Plaintiffs’ federal
24
     law claims without Jaffer’s participation in the litigation. Similarly, because Jaffer was or acted
25
     as Plaintiff-Intervenors’ employer as defined in the Washington Law Against Discrimination,
26
27
28
                                                                               FRANK FREED
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     this Court cannot accord complete relief as to Plaintiff-Intervenors’ pendant state law claims in
 1
 2   Jaffer’s absence. Thus, Jaffer is a necessary party.

 3          1. Jaffer Hospitality Group was Plaintiff-Intervenors’ employer when the
               harassment and retaliation occurred.
 4
 5           Jaffer is liable to Plaintiff-Intervenors for violations of their rights under Title VII as an

 6   indirect employer. See, e.g., Gomez v. Alexian Bros. Hosp. 698 F.2d 1019, 1021 (9th Cir. 1983)
 7
     (determining that an entity that was not plaintiff’s direct employer could be held liable under
 8
     Title VII for discriminatory treatment of plaintiff); Ass’n of Mexican-American Educators v.
 9
     State of California, 231 F.3d 572, 581 (9th Cir. 2000) (same). Jaffer is also liable to Plaintiff-
10
11   Intervenors for violations of their rights under the WLAD as their “employer,” as the term is

12   defined in the statute. See RCW 49.60.040(3).
13
                 a. Jaffer is liable under Title VII as Plaintiff-Intervenors’ “indirect employer.”
14
             An entity is an indirect employer for the purposes of Title VII liability if the entity
15
     exercises some “peculiar degree of control” over the employee’s relationship with the direct
16
17   employer and “interfere[s] with the employment decisions” of the direct employer. Ass’n of

18   Mexican-American Educators, 231 F.3d at 581-82. An indirect employer is liable under Title
19
     VII if it participates in and influences the direct employer’s employment policies, id. at 582, or
20
     “fail[s] to take corrective measures” when discriminatory conduct occurs, Anderson v. Pacific
21
22   Maritime Ass’n, 336 F.3d 924, 932 (9th Cir. 2003). Here, Jaffer satisfies both elements of the

23   “indirect employer” test. Jaffer exerts “peculiar control” over the relationship between Plaintiff-
24   Intervenors and Hawthorn Suites because it identified itself as Plaintiff-Intervenors’ employer,
25
26
27
28
                                                                               FRANK FREED
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              Case 2:20-cv-01369-RAJ-BAT Document 19 Filed 04/29/21 Page 6 of 13




     and because it created and issued personnel policies, practices, trainings, and complaint
 1
 2   procedures to employees of Hawthorn Suites, and it failed to stop the harassment and retaliation. 1

 3             Jaffer explicitly identified itself as Plaintiff-Intervenor Maria Contreras’s employer in a
 4
     January 2018 letter alerting employees of Hawthorn Suites that GIPHX10, LLC had acquired the
 5
     hotel. Phelan Decl., Ex. B. The letter concluded, “We are excited about working with you and
 6
 7   we hope you are mutually excited about your new employment with Jaffer Group.” Id. (emphasis

 8   added).
 9             Jaffer and Hawthorn Suites issued to Plaintiff-Intervenors “Jaffer’s Employee
10
     Handbook,” documenting personnel policies with which employees of Hawthorn Suites must
11
     comply. Phelan Decl., Ex. C. For instance, the Handbook describes Jaffer’s commitment to
12
13   providing a work environment “free of discrimination and unlawful harassment,” and provides

14   that, “Complaints involving alleged discriminatory practices shall be processed in accordance
15   with Jaffer Hospitality’s [sic] Group’s Harassment and Complaint Procedure Policy.” Id. at
16
     GIPH 000074-76. That procedure requires an employee to first raise concerns with her General
17
     Manager, and if that report fails to correct the situation, the employee must escalate the matter to
18
19   the Regional Director. Jaffer’s policy further provides: “After receiving a written grievance,

20   Jaffer Hospitality Group may hold a meeting” with relevant personnel. Id. at GIPH 000076.
21
     Thus, Jaffer and its employees exert significant control over the creation and enforcement of
22
     personnel policies related to equal employment opportunity at the hotel where both Plaintiff-
23
24   Intervenors worked. See Ass’n of Mexican-American Educators, 231 F.3d at 581-82.

25
26
27
     1   All of these policies were provided in English only.
28
                                                                               FRANK FREED
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            Further, Jaffer declared its authority to hire and fire employees of Hawthorn Suites in the
 1
 2   Employee Handbook, for no reason at all pursuant to the at-will doctrine, or for violating

 3   company policies, including the company’s anti-retaliation policy. Phelan Decl., Ex. C at GIPH
 4
     000072, GIPH 000076. The Handbook further describes Jaffer’s supervision and control over
 5
     conditions of employment at Hawthorn Suites, setting forth policies regarding meal and rest
 6
 7   breaks, uniforms, paid time off, attendance, pay methods, and telephone usage, among many

 8   others. See generally Phelan Decl., Ex. C. Jaffer also requires that hotel employees alert Jaffer—
 9   not Hawthorn Suites—regarding changes to personal information such as legal name, mailing
10
     address, and eligibility for tax exemptions, as set forth in the Handbook. Id. at GIPH 000081.
11
            Jaffer also responded to the EEOC charges in this action on behalf of GIPHX10, LLC/
12
13   Hawthorn Suites, which was the sole party named in the charges. Phelan Decl., Ex. D; Ex. E;

14   Ex. G. In its response to EEOC charges for Ms. Rodriguez, Defendant explained, “For purposes
15   of this Employer Statement, Hawthorn Suites and Jaffer will be referred to joint/collectively,”
16
     and “Hawthorn and Jaffer are also referred to herein as ‘the employer.’”                       Ex. E at
17
     EEOC_0001058. Defendant’s responses to both charges on behalf of Plaintiff-Intervenors each
18
19   contained sections titled “Employment with Hawthorn Suites/Jaffer.”                    Id.; Ex. D. at

20   EEOC_00001043. By identifying itself repeatedly as Plaintiff-Intervenors’ employer and taking
21
     full responsibility for creating and implementing the personnel policies necessary to uphold
22
     Hawthorn Suites’ employees’ rights to a workplace free from discrimination, Jaffer exerts “a
23
24   peculiar degree of control” over Plaintiff-Intervenors’ relationship with Hawthorn Suites. See

25   Ass’n of Mexican-American Educators, 231 F.3d at 581.
26          Jaffer “failed to take corrective measures” when it did not stop the harassment against
27
     Plaintiff-Intervenors and failed to prevent retaliation against Ms. Contreras after her report of
28
                                                                             FRANK FREED
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     harassment as their policy provides. See Anderson, 336 F.3d at 932. For instance, Plaintiff-
 1
 2   Intervenor Maria Contreras reported the harassment to her immediate supervisor and then to the

 3   General Manager, as Jaffer’s Employee Handbook requires. Dkt. 1 at ¶ 11. After conducting a
 4
     cursory investigation, the General Manager, who was retained by Jaffer Group, did not intervene
 5
     to protect Ms. Contreras from the ongoing harassment or discipline her harasser. Id. ¶¶ 12, 14.
 6
 7   Instead, the General Manager retaliated against Ms. Contreras by depriving her of a translator,

 8   effectively shutting down Ms. Contreras’ ability to convey her complaints or concerns to the
 9   General Manager or the Regional Director. Id. ¶ 13. Further, Jaffer’s Employee Handbook was
10
     issued to employees in English only, which Ms. Contreras does not speak or read. See Phelan
11
     Decl. Ex. C. After Ms. Contreras reported the harassment to the General Manager on site at
12
13   Hawthorn Suites, her hours were reduced and she was denied a raise that other housekeepers

14   received. Id. ¶ 13. The lack of meaningful notice of harassment policies and procedures to non-
15   English-speaking employees, Jaffer’s failure to stop the discriminatory conduct suffered by
16
     Plaintiff-Intervenors, and the retaliation inflicted by Jaffer’s General Manager after Ms.
17
     Contreras’s report all constitute discriminatory interference by Jaffer that renders it liable as an
18
19   indirect employer under Title VII. See Ass’n of Mexican-American Educators, 231 F.3d at 581.

20               b. Jaffer was Plaintiff-Intervenors’ employer under the broad meaning of that term
                    under the Washington Law Against Discrimination.
21
22           Like Title VII, the WLAD also allows employees to recover against their employers for

23   workplace discrimination and broadly defines “employer” to “include[] any person acting in the
24
     interest of an employer, directly or indirectly, employs eight or more persons . . . .” RCW
25
     49.60.040(3) (emphasis added). The Washington Supreme Court construes this definition
26
     broadly to effectuate the “overarching purpose of the law [which] is ‘to deter and to eradicate
27
28
                                                                              FRANK FREED
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     discrimination in Washington.’” Brown v. Scott Paper Worldwide Co., 143 Wn.2d 349, 359-60
 1
 2   (2001) (quoting Marquis v. City of Spokane, 130 Wn.2d 97, 109, 922 P.3d 43 (1996)) (finding

 3   individual supervisor personally liable for discrimination under the WLAD, although supervisor
 4
     was not explicitly listed in statute). Here, Jaffer clearly fits within the broad definition of
 5
     Plaintiff-Intervenors’ employer under the WLAD because it identified itself as such in materials
 6
 7   Hawthorn Suites provided to Plaintiffs. See Phelan Decl. Exs. B-G. Identifying Jaffer, the entity

 8   that creates and enforces anti-discrimination policies at Hawthorn Suites, as the employer would
 9   also effectuate the “overarching purpose” of the WLAD “to deter and to eradicate
10
     discrimination.” Brown, 143 Wn.2d at 359-60. In the alternative, Jaffer “act[ed] in the interest
11
     of” Plaintiff-Intervenors’ employer by writing and enforcing its personnel policies and
12
13   responding to the EEOC charges. Phelan Decl. Ex. C; Ex. D; Ex. E; Ex. G.

14          2. In Jaffer Hospitality Group’s absence, this Court cannot accord complete relief.
15           Jaffer is a necessary party to this action because Plaintiffs seek relief that requires action
16
     from Jaffer. Plaintiffs seek injunctive relief ordering Defendant Hawthorn Suites to improve its
17
     employment policies, practices, and programs to guarantee Defendant’s employees’ rights to be
18
19   free from workplace discrimination. Dkt. 1 ¶¶ A, B; Dkt. 14 ¶ B. As discussed above, Jaffer

20   writes, implements, and administers the personnel policies that Defendant Hawthorn Suites uses
21   and that its employees must follow. See generally Phelan Decl. Ex. C. Without Jaffer’s
22
     participation in the instant litigation, the personnel policies to which Hawthorn Suites’ employees
23
     are subject are unlikely to change, thereby depriving Plaintiffs of “consummate rather than partial
24
25   or hollow relief.” See Alto, 738 F.3d at 1126.

26
27
28
                                                                               FRANK FREED
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            3. Joining Jaffer Hospitality Group to this action is feasible.
 1
 2           This Court enjoys specific jurisdiction over Jaffer because of Jaffer’s contacts in the

 3   forum state, and joinder of Jaffer would not deprive the Court of federal subject matter
 4   jurisdiction. A court has specific jurisdiction over a foreign company if the litigation arises out
 5
     of that company’s contacts with the forum state. Bristol-Myers Squibb Co. v. Superior Court of
 6
     California, San Francisco Cnty., 137 S.Ct. 1773, 1780 (2017). Jaffer is subject to specific
 7
 8   jurisdiction in the Western District of Washington because it has contacts in Kent, Washington

 9   through its ownership of Defendant Hawthorn Suites. Dkt. 7. The discriminatory conduct at
10
     issue here arose from Jaffer’s ownership of Hawthorn Suites, and its failure to protect its
11
     employees in Kent from unlawful discrimination and retaliation. See Dkt. 1, Dkt. 14.
12
13           This Court exercises federal subject matter jurisdiction over Plaintiffs’ claims under Title

14   VII, which supply federal question jurisdiction. 28 U.S.C. § 1331. This Court exercises
15   supplemental jurisdiction over Plaintiff-Intervenors’ pendant state law claims because the body
16
     of evidence necessary to resolve the state law claims substantially overlaps with evidence
17
     relevant to their federal claims. 28 U.S.C. § 1367; United Mine Workers v. Gibbs, 383 U.S. 715,
18
19   725 (1966).    Joining Jaffer as a necessary party will not disrupt Court’s subject matter

20   jurisdiction; joinder is therefore feasible. See Fed. R. Civ. P. 19(a)(1).
21   B.     In the alternative, the Court should allow the permissive joinder of Jaffer
22          Hospitality Group.

23          If the Court determines that Jaffer is not a necessary party, Plaintiff-Intervenors
24
     respectfully move the Court to join Jaffer as a permissive defendant pursuant to Fed. R. Civ. P.
25
     20(a)(2). Rule 20(a)(2) provides, in relevant part, that a person may be joined as a defendant if
26
     a plaintiff can demonstrate: (1) that she has a right to relief based on the same series of
27
28
                                                                               FRANK FREED
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     transactions or occurrences as those at issue in the litigation, and (2) a common question of law
 1
 2   or fact with respect to all parties. Id.; Desert Empire Bank v. Insurance Co. of North America,

 3   623 F.2d 1371, 1375 (9th Cir. 1980). The decision regarding whether to join a permissive party
 4
     is vested in the sound discretion of the district court, but “the rule regarding permissive joinder
 5
     is to be construed liberally in order to promote trial convenience and to expedite the final
 6
 7   determination of disputes, thereby preventing multiple lawsuits.” League to Save Lake Tahoe v.

 8   Tahoe Regional Planning Agency, 558 F.2d 914, 917 (9th Cir. 1977). Jaffer should be joined as
 9   a defendant because it employed Plaintiff-Intervenors when the unlawful discrimination
10
     occurred; Jaffer is therefore liable to Plaintiffs based on the same series of occurrences as is
11
     Hawthorn Suites. See id. All questions of law and fact are common to all parties. See id.
12
13          1.   Jaffer’s liability to Plaintiffs arise out of the same series of occurrences as
                 those giving rise to Hawthorn Suites’ liability.
14
            As discussed in depth above, Jaffer was Plaintiff-Intervenors’ indirect employer for the
15
16   purposes of liability under Title VII. Title VII affords employees the right to recover from their

17   employer for discrimination in the terms and conditions of employment. 42 USC § 2000e-5(b).
18   Title VII plaintiffs may also recover against indirect employers under the present circumstances,
19
     as described above. See Gomez, 698 F.2d at 1021-22; Anderson, 336 F.3d at 930. Similarly,
20
     because Jaffer fits the broad definition of “employer” under the WLAD, Jaffer is also liable to
21
22   Plaintiff-Intervenors under their state law claims. See RCW 49.60.040(3). Therefore, Plaintiffs’

23   rights to relief against Jaffer arise out of the same series of occurrences as their rights to relief
24
     against Defendant Hawthorn Suites because both entities employed them. See Desert Empire,
25
     623 F.2d at 1375.
26
27
28
                                                                               FRANK FREED
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            2.   Jaffer’s and Hawthorn Suites’ liability arise from common questions of law
 1
                 and fact.
 2
            As discussed in depth above, all questions of law and fact in this action are common to
 3
     all parties, including Jaffer. As Plaintiff-Intervenors’ direct or indirect employer, the questions
 4
 5   of law regarding employer liability under the WLAD and Title VII are common to all parties;

 6   any finding of Hawthorn Suites’ liability to Plaintiffs under state or federal law would necessarily
 7
     implicate Jaffer. See Anderson, 336 F.3d at 932; Ass’n of Mexican-American Educators, 231
 8
     F.3d at 581. All of Plaintiffs’ claims against Hawthorn Suites and Jaffer arise out of the same
 9
     set of facts; to the extent that any questions of fact remain in dispute, they are common to all
10
11   parties. See Desert Empire, 623 F.2d at 1375.

12                                          VI.    CONCLUSION
13
            For the reasons set forth above, the Plaintiff-Intervenors respectfully request that the
14
     Court join Jaffer Hospitality Group as a necessary party to this action, or in the alternative, as a
15
16   permissive defendant to this action.

17
            DATED this 29th day of April, 2021.
18
19                                           FRANK FREED SUBIT & THOMAS LLP

20
21                                           By:______________________________
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                                             Attorneys for Plaintiff-Intervenors
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28
                                                                               FRANK FREED
     MOTION FOR JOINDER BY COURT ORDER                                      SUBIT & THOMAS LLP
     TO JOIN JAFFER HOSPITALITY GROUP                                 Suite 1200 Hoge Building, 705 Second Avenue
     AS PARTY - 12                                                           Seattle, Washington 98104-1798
                                                                                      (206) 682-6711
          Case 2:20-cv-01369-RAJ-BAT Document 19 Filed 04/29/21 Page 13 of 13




                                       CERTIFICATE OF SERVICE
 1
 2            I hereby certify that on this 29th day of April, 2021, I electronically filed the foregoing
     with the Clerk of the Court using the CM/ECF system which will send notification of such
 3   filing to the following:
 4
            Roberta L. Steele       Roberta.steele@eeoc.gov
 5
            Carmen Flores           Carmen.flores@eeoc.gov
 6
 7          Aaron Rocke             Aaron@rockelaw.com

 8          I hereby certify that I have mailed by United States Postal Service the document to the
     following non-CM/ECF participants: NONE
 9
10
                                    Megan Grosse
11                                  Megan Grosse, Legal Assistant
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                                                                               FRANK FREED
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